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EASTERN DIVISION _'
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UNITED srArEs oF AMERICA, * f@§lf,»~° :»:§él‘
. . ."
Plalntiff, * oilo?{:}/!} L{q/*
v. * CR. No.
§i 5 »/ 0 01 L/
vANsEssA HARVEY *
Defendant.

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M()TION TO MODIFY TERMS OF PRE TRIAL RE ASE

 

Comes now the Defendant and Moves this Honorable Court hat the terms of her pre trial
release be modified to allow travel out of district for medical p poses for an immediate family

member’s treatment In support of this motion Defendant wo ld state:

l. Defendant’s step-mother is currently on a w iting list for a double kidney-pancreas

 

transplant She is on waiting lists for both Vanderbilt 41 iversity and also the university ofAlabama

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at Birmingharn

2. Defendant’s step mother, Doroth arvey has received a notice from the University of
Alabama that she has an appointment her doctor on August ll, 2005 at 10:00 a.rn. [attached
hereto]. The family will need to ansport her on August lO, 2005 due to the length of the drive.

Det`endant’s father’s work edule will require him to work on August 10, 2005 for at least a portion

uled to Work until approximately ] :00 a.m. on August 1 ], 2005 [second shift]_
edecl to transport her step mother or to assist with such transportation in the event

§r can travel after leaving work.
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U.S. District Judge 3 0

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4. Defense counsel has consulted With government counsel and the government does not
object to the relief requested

Premises considered, Defendant moves that the terms of her pretrial supervision be modified
to allow for travel out of district for this specific medical appointment on August 10, 2005 and for
future such appointments as they arise, upon notification to the pretrial services officer

Respectfully submitted, this theij; g day of 2005.

 

M. Dianne Smothers [Ol 1874]
Assistant Federal Defender

109 S. Highland Ave., Rm. B-S
Jackson, TN 38301

Phone: (731)427-2556

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and exact copy of the foregoing Was served upon
all interested parties by either hand deliveiy or by mailing same, postage prepaid to the foll_owing:

Mr. James Powell

Assistant United States Attomey
109 South Highl.and, Suite 300
Jackson, Tennessee, 38301

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\ \MM/L/ .

M.\ljianne Smothers

CaSe 1:05-cr-10014-.]DT Document 30 F`| d 07/28/05 P
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July is, 2005

Ms. Dorothy Harvey
60 Leo Woods Road
Cedar Grove, TN 38321

Dear Ms. Harvey:

I would like to make an appointment for you to come to the
UAB Kirklin Clinic for re-evaluation for your listing on
the kidney/pancreas waiting list for transplantation at
UAB.

I have made this appointment for you on Thursday, August
11, 2005 at 10:00 am. This is a clinic visit only with Dr.
Deierhoi, but it will give you the opportunity to discuss
any questions or concerns you may have regarding
transplantation.

The Kirklin Clinic is located on the corner of Sixth Avenue
and Twentieth Street South. You should come to the Fifth
Floor, General Surgery Clinic. I have enclosed a map for
your directions, and there is a parking deck adjacent to
the clinic for your convenience in parking.

If this appointment time is not satisfactory, you may call
888-822-7892 and I can schedule another time that will be
more convenient.

    

Vicki Denney
Administrative Associate
Renal Transplant

?76 Lyons¢Harr<`son Research Bui|dmg renaltransplant@uabmc.edu
701 19th Street South Www.hea|th,uar).edufrenaltransp|ani
205.975.9200 |`v'lai|ing Address:
To|l Fr'ee 1.888.522.7892 l_HFiB 776
Fax 205\975,9199 t530 SRD A\/E S

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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case l:05-CR-10014 Was distributed by faX, mail, or direct printing on
.luly 29, 2005 to the parties listed

 

 

J ames W. PoWell

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Ste. 300

Jacl<son, TN 38301

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FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

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Honorable J ames Todd
US DISTRICT COURT

